

People ex rel. Campbell v Brann (2021 NY Slip Op 02090)





People ex rel. Campbell v Brann


2021 NY Slip Op 02090


Decided on April 2, 2021


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 2, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

MARK C. DILLON, J.P.
ROBERT J. MILLER
FRANCESCA E. CONNOLLY
VALERIE BRATHWAITE NELSON, JJ.


2021-01765	DECISION, ORDER &amp; JUDGMENT

[*1]The People of the State of New York, ex rel. Marion E. Campbell, on behalf of Driton Kadriu, petitioner, 
vCynthia Brann, etc., respondent.


Janet E. Sabel, New York, NY (Marion E. Campbell pro se of counsel), for petitioner.
Michael E. McMahon, District Attorney, Staten Island, NY (Jacqueline Bruno of counsel), for respondent.



Writ of habeas corpus in the nature of an application to release Driton Kadriu upon his own recognizance pursuant to CPL 30.30(2)(a) or, in the alternative, for bail reduction, upon Richmond County Indictment No. 121/2020.
ADJUDGED that the writ is sustained, without costs or disbursements, and the matter is remitted to the Supreme Court, Richmond County, to set reasonable bail or to release Driton Kadriu on his own recognizance, and to fix such other terms and conditions upon the release of Driton Kadriu as may seem to it to be just and proper.
Contrary to the respondent's contention, under the circumstances of this case, the COVID-19 pandemic does not qualify as exceptional circumstances under CPL 30.30(4)(g). Since more than 90 days of delay in bringing Driton Kadriu to trial on Richmond County Indictment No. 121/2020 are chargeable to the prosecution, CPL 30.30(2)(a) commands that he be released on bail, which he is capable of meeting, or upon his own recognizance (see People ex rel. Chakwin v Warden, N.Y. City Correctional Facility, Rikers Is. , 63 NY2d 120).
DILLON, J.P., MILLER, CONNOLLY and BRATHWAITE NELSON, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








